Case 16-10083      Doc 170     Filed 02/17/16 Entered 02/17/16 18:38:46         Main Document
                                            Pg 1 of 48


                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION


                                                   Case No. 16-10083-399

                                                   Chapter 11
 In re:
                                                   Jointly Administered
 NORANDA ALUMINUM, INC., et al.,
                                                   Hearing Date & Time:
                               Debtors.            March 8, 2016 at 2:00 p.m.
                                                   (prevailing Central Time)

                                                   Hearing Location:
                                                   St. Louis Courtroom 5 North

                                   NOTICE OF
                            DEBTORS’ APPLICATION
                          FOR AN ORDER PURSUANT TO
                    SECTIONS 327 AND 330 OF THE BANKRUPTCY
                   CODE AND BANKRUPTCY RULES 2014 AND 2016
                AUTHORIZING THE RETENTION AND EMPLOYMENT
               OF PAUL, WEISS, RIFKIND,WHARTON & GARRISON LLP
          AS ATTORNEYS FOR THE DEBTORS AND DEBTORS IN POSSESSION

                PLEASE TAKE NOTICE that this application is scheduled for hearing on March

 8, 2016 at 2:00 p.m. (prevailing Central Time), before the Honorable Barry S. Schermer in

 Bankruptcy Courtroom 5 North, in the Thomas F. Eagleton U.S. Courthouse, 111 South Tenth

 Street, St. Louis, Missouri 63102.

                WARNING: Any response or objection to this application must be filed with

 this court by March 1, 2016. A copy shall be promptly served upon the undersigned.

 Failure to file a timely response may result in the Court granting the relief requested prior

 to the hearing date.

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Case 16-10083     Doc 170       Filed 02/17/16 Entered 02/17/16 18:38:46       Main Document
                                             Pg 2 of 48


 Dated:   February 17, 2016        Respectfully submitted,
          St. Louis, Missouri      CARMODY MACDONALD P.C.


                                   /s/ Christopher J. Lawhorn
                                   Christopher J. Lawhorn, #45713MO
                                   Angela L. Drumm, #57678MO
                                   Colin M. Luoma, #65000MO
                                   120 S. Central Avenue, Suite 1800
                                   St. Louis, Missouri 63105
                                   Telephone: (314) 854-8600
                                   Facsimile: (314) 854-8660
                                   cjl@carmodymacdonald.com
                                   ald@carmodymacdonald.com
                                   cml@carmodymacdonald.com

                                   Proposed Local Counsel to the Debtors and
                                   Debtors in Possession

                                   - and -

                                   PAUL, WEISS, RIFKIND, WHARTON &
                                   GARRISON LLP
                                   Alan W. Kornberg
                                   Elizabeth R. McColm
                                   Alexander Woolverton
                                   Michael M. Turkel
                                   1285 Avenue of the Americas
                                   New York, New York 10019
                                   Telephone: (212) 373-3000
                                   Facsimile: (212) 757-3990
                                   akornberg@paulweiss.com
                                   emccolm@paulweiss.com
                                   awoolverton@paulweiss.com
                                   mturkel@paulweiss.com

                                   Proposed Counsel to the Debtors and
                                   Debtors in Possession




                                               2
Case 16-10083            Doc 170        Filed 02/17/16 Entered 02/17/16 18:38:46                   Main Document
                                                     Pg 3 of 48


                                 UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF MISSOURI
                                      SOUTHEASTERN DIVISION


                                                               Case No. 16-10083-399

                                                               Chapter 11
In re:
                                                               Jointly Administered
NORANDA ALUMINUM, INC., et al.,
                                                               Hearing Date & Time:
                                    Debtors.                   March 8, 2016 at 2:00 p.m.
                                                               (prevailing Central Time)

                                                               Hearing Location:
                                                               St. Louis Courtroom 5 North

                 DEBTORS’ APPLICATION FOR AN ORDER PURSUANT
              TO SECTIONS 327 AND 330 OF THE BANKRUPTCY CODE AND
          BANKRUPTCY RULES 2014 AND 2016 AUTHORIZING THE RETENTION
         AND EMPLOYMENT OF PAUL, WEISS, RIFKIND,WHARTON & GARRISON
         LLP AS ATTORNEYS FOR THE DEBTORS AND DEBTORS IN POSSESSION

                      Noranda Aluminum, Inc. and its affiliated debtors and debtors in possession in the

  above-captioned cases (each a “Debtor” and, collectively, the “Debtors”), hereby move this

  Court for entry of an order (the “Proposed Order”) 1, pursuant to sections 327 and 330 of title 11

  of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), rules 2014 and

  2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and rules 2014 and

  2016-1 of the Local Rules for the United States Bankruptcy Court for the Eastern District of

  Missouri (the “Local Rules”), authorizing the retention and employment of Paul, Weiss, Rifkind,

  Wharton & Garrison LLP (“Paul, Weiss” or the “Firm”) as attorneys to the Debtors in these

  chapter 11 cases. In support of this application (the “Application”), the Debtors rely upon the




  1
         A copy of the Proposed Order will be provided to the Notice Parties (as defined below) and made available on
         the Debtors’ Case Information Website at https://cases.primeclerk.com/noranda.
Case 16-10083          Doc 170     Filed 02/17/16 Entered 02/17/16 18:38:46                   Main Document
                                                Pg 4 of 48


 Declaration of Alan W. Kornberg (the “Kornberg Declaration”), attached hereto as Exhibit A,

 and respectfully represent as follows:

                                                 Jurisdiction

                  1.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

 §§ 157 and 1334. Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409. This

 matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

                  2.      The statutory and legal predicates for the relief requested are sections

 327(a) and 330 of the Bankruptcy Code, Bankruptcy Rules 2014 and 2016 and Local Rules 2014

 and 2016-1.

                                                 Background

                  3.      On February 8, 2016 (the “Petition Date”), each of the Debtors filed a

 voluntary petition for relief under chapter 11 of the Bankruptcy Code thereby commencing the

 instant cases (the “Chapter 11 Cases”). The Debtors continue to manage and operate their

 businesses as debtors-in-possession under sections 1107 and 1108 of the Bankruptcy Code.

                  4.      No trustee, examiner or official committee has been appointed in the

 Chapter 11 Cases.

                  5.      Information regarding the Debtors’ businesses, their capital and debt

 structure, and the events leading to the filing of the Chapter 11 Cases is contained in the

 Declaration of Dale W. Boyles in Support of First Day Motions, filed contemporaneously

 herewith (the “First Day Declaration”). 2




 2
     The First Day Declaration was filed on the Petition Date and is incorporated herein by reference. Capitalized
     terms used herein but not otherwise defined shall have the meanings ascribed to them in the First Day
     Declaration.



                                                        2
Case 16-10083         Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46            Main Document
                                             Pg 5 of 48


                                          Relief Requested

                6.       By this Application, the Debtors seek authority to employ and retain Paul,

 Weiss as their bankruptcy attorneys with regard to the filing and prosecution of their Chapter 11

 Cases.

                                     Paul, Weiss’ Qualifications

                7.       The Debtors seek to retain Paul, Weiss as their attorneys because of the

 Firm’s extensive experience and knowledge in the field of debtors’ and creditors’ rights and

 chapter 11 of the Bankruptcy Code. The Debtors believe that Paul, Weiss’ expertise, experience

 and knowledge will be efficient and cost-effective for the Debtors’ estates. Moreover, Paul,

 Weiss has, prior to the Petition Date, assisted with the preparation of the Chapter 11 Cases.

 Thus, Paul, Weiss is already familiar with the Debtors’ businesses and affairs and with many of

 the legal issues that may arise during these Chapter 11 Cases. Accordingly, the Debtors believe

 that Paul, Weiss is both well-qualified and uniquely able to represent them as bankruptcy counsel

 in these Chapter 11 Cases in an efficient and timely manner.

                                       Services to be Provided

                8.       The professional services that Paul, Weiss will render to the Debtors

 include, but shall not be limited to, the following:

                (a)      providing legal advice with respect to the Debtors’ powers
                         and duties as debtors-in-possession in the continued
                         operation of their business and management of their
                         properties;

                (b)      attending meetings and negotiating with representatives of
                         creditors and other parties in interest and advising and
                         consulting on the conduct of these Chapter 11 Cases,
                         including the legal and administrative requirements of
                         operating in chapter 11;




                                                   3
Case 16-10083         Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46            Main Document
                                             Pg 6 of 48


                (c)      taking necessary action to protect and preserve the Debtors’
                         estates, including the prosecution of actions commenced
                         under the Bankruptcy Code on their behalf, and objections
                         to claims filed against the estates;

                (d)      preparing and prosecuting on behalf of the Debtors
                         motions, applications, answers, orders, reports and papers
                         necessary to the administration of the estates;

                (e)      advising and assisting the Debtors with respect to
                         restructuring alternatives, including preparing and pursuing
                         confirmation of a chapter 11 plan, including preparing and
                         seeking approval of a disclosure statement;

                (f)      appearing in Court and protecting the interests of the
                         Debtors before the Court; and

                (g)      performing all other legal services for the Debtors which
                         may be necessary and proper in these cases.

                                   Payment of Fees and Expenses

                9.       The professional services of Paul, Weiss are necessary to ensure that all

 matters related to the Debtors’ Chapter 11 Cases are handled in a diligent and expeditious

 manner. Paul, Weiss will seek Court approval of its compensation and reimbursement of its

 actual, necessary expenses and other charges incurred by the Firm, consistent with its

 engagement agreement with the Debtors dated January 4, 2016, upon the filing of appropriate

 applications for interim and final compensation and reimbursement pursuant to sections 330 and

 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and any orders of this Court.

 The current standard hourly rates for Paul, Weiss’ attorneys and paralegals are as follows:

                a. Partners                    $995 to $1,330

                b. Associates                  $540 to $900

                c. Legal Assistants            $95 to $315

                d. Staff Attorneys             $425 to $440




                                                   4
Case 16-10083      Doc 170      Filed 02/17/16 Entered 02/17/16 18:38:46               Main Document
                                             Pg 7 of 48


 In the normal course of its business, Paul, Weiss revises its hourly rates annually.

                10.     The principal attorneys designated to represent the Debtors, along with

 their levels of experience and current standard hourly rates, are:

      Alan W. Kornberg (Partner)                 38 years of experience           $1,330 per hour

      Elizabeth R. McColm (Partner)              17 years of experience           $1,150 per hour

      Alexander Woolverton (Associate)            4 years of experience            $805 per hour

      Michael M. Turkel (Associate)                1 year of experience            $620 per hour

 Other Paul, Weiss lawyers will be consulted and may appear on behalf of the Debtors in these

 Chapter 11 Cases as necessary. None of the professionals included in this engagement vary their

 rate based on the geographic location of the Chapter 11 Cases.

                11.     The hourly rates set forth above are the Firm’s standard hourly rates.

 These rates are set at a level designed to fairly compensate the Firm for the work of its attorneys

 and paralegals and to cover fixed and routine overhead expenses. The Firm has not agreed to

 any variations from, or alternatives to, its standard billing arrangements for this engagement.

                12.     In addition, it is the Firm’s policy to charge its clients in all areas of

 practice for all other expenses incurred in connection with the client’s case. The expenses

 charged to clients include, among other things, telephone and telecopier toll and other charges,

 mail and express mail charges, special or hand delivery charges, document processing,

 photocopying charges, charges for mailing supplies (including, without limitation, envelopes and

 labels) provided by the Firm to outside copying services for use in mass mailings, travel

 expenses, expenses for “working meals,” computerized research, transcription costs, as well as

 non-ordinary overhead expenses approved by the client such as secretarial and other overtime.

 The Firm will charge the Debtors for these expenses in a manner and at rates consistent with



                                                   5
Case 16-10083      Doc 170     Filed 02/17/16 Entered 02/17/16 18:38:46             Main Document
                                            Pg 8 of 48


 charges made generally to the Firm’s other clients. The Firm believes that it is fairer to charge

 these expenses to the clients incurring them than to increase the hourly rates and spread the

 expenses among all clients.

                13.     By separate applications, the Debtors have asked or will ask the Court to

 approve the retention of (a) Carmody MacDonald P.C. (“Carmody MacDonald”) as local

 bankruptcy counsel; (b) Alvarez & Marsal as financial advisor and consultants for the Debtors;

 (c) PJT Partners LP (“PJT Partners”) as investment bankers for the Debtors; (d) Ernst & Young

 (“E&Y”) as auditors and tax advisors for the Debtors; (e) and Prime Clerk LLC (together with

 Paul, Weiss, Carmody MacDonald, Alvarez & Marsal, PJT Partners, and E&Y, the

 “Professionals”) as claims and noticing agent and administrative advisor to the Debtors. Paul,

 Weiss will work closely with the Professionals, taking whatever steps are necessary and

 appropriate, to avoid any unnecessary duplication of effort with the Professionals.

                14.     Paul, Weiss was retained by the Debtors and began working on this matter

 on or about September 15, 2015. Paul, Weiss received a retainer from the Debtors in the amount

 of $75,000 on October 2, 2015 and additional retainers of $500,000.00 on December 21, 2015

 and $500,000.00 on January 29, 2016. Including amounts drawn from these retainers, the Firm

 received payments made within the ninety (90) days immediately preceding the Petition Date

 totaling approximately $3,429,962.41 in connection with Paul, Weiss’ general representation of

 the Debtors prior to these Chapter 11 Cases and in connection with the preparation thereof.

                15.     Other than as set forth herein, Paul, Weiss has not received any payments

 from the Debtors during the ninety (90) days immediately preceding the Petition Date.

                16.     Paul, Weiss has advised the Debtors that it intends to apply to the Court

 for allowance of compensation for professional services rendered and reimbursement of charges,




                                                  6
Case 16-10083       Doc 170      Filed 02/17/16 Entered 02/17/16 18:38:46              Main Document
                                              Pg 9 of 48


 costs and expenses incurred in these Chapter 11 Cases in accordance with the applicable

 provisions of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and any orders of this

 Court.

                                     Bankruptcy Rule 2014 Disclosure

                17.     To the best of the Debtors’ knowledge, and except as disclosed herein and

 in the Kornberg Declaration, Paul, Weiss has not represented the Debtors’ creditors, or any other

 parties-in-interest, or their respective attorneys, in any matter relating to the Debtors or their

 estates. Based upon its review of interested parties in these Chapter 11 Cases, Paul, Weiss is a

 “disinterested person” as that phrase is defined in section 101(14) of the Bankruptcy Code.

                18.     For the above reasons, the Debtors submit that Paul, Weiss’ employment

 is necessary and in the best interests of the Debtors and their estates.

                                                 Notice

                19.     The Debtors will serve this Application on (a) the Core Parties and (b) any

 Non-ECF Parties (as those terms are defined in the Case Management Order) (collectively, the

 “Notice Parties”). All parties who have requested electronic notice of filings in these cases

 through the Court’s ECF system will automatically receive notice of this Application through the

 ECF system no later than the day after its filing with the Court. A copy of this Application and

 any order approving it will also be made available on the Debtors’ case information website

 (located at https://cases.primeclerk.com/noranda). A copy of the Proposed Order will be made

 available on the Debtors’ Case Information Website. The Proposed Order may be modified or

 withdrawn at any time without further notice. If any significant modifications are made to the

 Proposed Order, an amended Proposed Order will be made available on the Debtors’ Case




                                                    7
Case 16-10083      Doc 170      Filed 02/17/16 Entered 02/17/16 18:38:46             Main Document
                                             Pg 10 of 48


 Information Website, and no further notice will be provided. In light of the relief requested, the

 Debtors submit that no further notice is necessary.

                WHEREFORE, the Debtors respectfully request the entry of the Proposed Order

 granting the relief requested herein and such other and further relief as is just and proper.

 Dated:   February 17, 2016          /s/ Dale W. Boyles
          St. Louis, Missouri        Dale W. Boyles
                                     Chief Financial Officer,
                                     Noranda Aluminum, Inc.




                                                   8
Case 16-10083      Doc 170     Filed 02/17/16 Entered 02/17/16 18:38:46            Main Document
                                            Pg 11 of 48


                                 CERTIFICATE OF SERVICE

         Consistent with the Case Management Order, the Debtors will serve notice of this
 Application on all of the Interested Parties as well as all parties who have requested notice. All
 parties who have requested electronic notice of filings in these cases though the Court’s ECF
 system will automatically receive notice of this Application through the ECF system. All other
 parties will be served this Application via electronic mail or First Class U.S. Mail. A copy of
 this Application and order approving it will also be made available on the Debtors’ Case
 Information Website (located at https://cases.primeclerk.com/noranda).


                                                      /s/ Christopher J. Lawhorn
Case 16-10083   Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46   Main Document
                                       Pg 12 of 48


                                     Exhibit A

                           Declaration of Alan W. Kornberg
Case 16-10083        Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46            Main Document
                                            Pg 13 of 48



                          UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION


                                                      Case No. 16-10083-399

                                                      Chapter 11
 In re:
                                                      Jointly Administered
 NORANDA ALUMINUM, INC., et al.,
                                                      Hearing Date & Time:
                               Debtors.               March 8, 2016 at 2:00 p.m.
                                                      (prevailing Central Time)

                                                      Hearing Location:
                                                      St. Louis Courtroom 5 North

                     DECLARATION OF ALAN W. KORNBERG
                  IN SUPPORT OF DEBTORS’ APPLICATION FOR
                AN ORDER PURSUANT TO SECTIONS 327 AND 330 OF
             THE BANKRUPTCY CODE AND BANKRUPTCY RULES 2014
           AND 2016 AUTHORIZING THE RETENTION AND EMPLOYMENT
            OF PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP AS
           ATTORNEYS FOR THE DEBTORS AND DEBTORS IN POSSESSION

          I, ALAN W. KORNBERG, declare the following:

                1.      I am a partner in the firm of Paul, Weiss, Rifkind, Wharton & Garrison

 LLP (“Paul, Weiss” or the “Firm”), located at 1285 Avenue of the Americas, New York, NY

 10019, and am duly admitted to practice law in the State of New York. This Declaration is

 submitted in support of the Debtors’ Application for an Order Pursuant to Sections 327 and 330

 of the Bankruptcy Code and Bankruptcy Rules 2014 and 2016 Authorizing the Retention and

 Employment Of Paul, Weiss, Rifkind, Wharton & Garrison LLP as Attorneys for the Debtors and

 Debtors-In-Possession.

                2.      To confirm that Paul, Weiss did not have a prior representation that
Case 16-10083          Doc 170      Filed 02/17/16 Entered 02/17/16 18:38:46                     Main Document
                                                 Pg 14 of 48


 precluded its representation of the Debtors 1 with respect to the matters upon which it is being

 employed, I caused Paul, Weiss attorneys under my supervision to conduct a review of potential

 connections and relationships between Paul, Weiss and the following categories of parties (as

 provided to Paul, Weiss by the Debtors, and as set forth in Schedule 1 hereto) (the “Potential

 Parties in Interest”):

                  a.       the Debtors, non-Debtor affiliates and subsidiaries;

                  b.       the agent under the Debtors’ ABL Agreement and the agent under the

                           Debtors’ Term Loan Agreement;

                  c.       the indenture trustee for the Debtors’ outstanding bond issuance;

                  d.       bankruptcy judges in the Eastern District of Missouri;

                  e.       the Debtors’ bankruptcy professionals;

                  f.       the Debtors’ lenders;

                  g.       the Debtors’ bondholders;

                  h.       the banks at which the Debtors maintain depository, concentration,

                           disbursement, operating or related accounts;

                  i.       the Debtors’ significant customers;

                  j.       the Debtors’ current and former directors and officers;

                  k.       permit issuers and regulators relevant to the Debtors;

                  l.       the Debtors’ relevant taxing authorities;

                  m.       the Debtors’ insurance providers;

                  n.       landlords for the Debtors’ properties;

                  o.       the Debtors’ counterparties in ongoing material litigation;

                  p.       the Debtors’ ordinary course professionals;
 1
     Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Application.


                                                          2
Case 16-10083         Doc 170    Filed 02/17/16 Entered 02/17/16 18:38:46                Main Document
                                              Pg 15 of 48


                 q.      the Debtors’ non-lender secured parties;

                 r.      the Debtors’ significant competitors;

                 s.      the significant shareholders of the Debtors’ outstanding common stock;

                 t.      the Debtors’ 30 largest unsecured creditors (other than debtholders) as of

                         January 31, 2016;

                 u.      members of the U.S. Trustee’s office for region 13;

                 v.      all unions which represent the Debtors’ Employees;

                 w.      the Debtors’ utility service providers; and

                 x.      the Debtors’ key vendors.

 Based upon a review of the foregoing information, Paul, Weiss, and the partners, counsel and

 associates of Paul, Weiss, presently represent, may have represented in the past, and may

 represent in the future, entities (or affiliates of entities) that are claimants of and/or interest

 holders in the Debtors, and/or are parties in interest in these cases, in matters unrelated to these

 Chapter 11 Cases.

                 3.      Paul, Weiss currently represents, or has represented since January 1, 2013,

 the parties, or affiliates of the parties, who may be interested parties, in matters wholly unrelated

 to these Chapter 11 Cases attached hereto as Schedule 2. Of the parties listed on Schedule 2,

 only the following parties are entities or affiliates of entities that represented more than one

 percent of Paul, Weiss’ fee receipts for the 12-month period ending on January 31, 2016: (a)

 Citibank, N.A., and (b) JPMorgan Chase Bank, N.A.

                 4.      Based on its review to date, Paul, Weiss has determined that it does not

 represent any party in these cases with a material adverse interest to the Debtors. Carmody

 MacDonald, P.C. (“Carmody MacDonald”) will represent the Debtors in dealing with the parties



                                                     3
Case 16-10083        Doc 170    Filed 02/17/16 Entered 02/17/16 18:38:46              Main Document
                                             Pg 16 of 48


 to the extent any such material adverse interest arises. In addition, Paul, Weiss will supplement

 this Declaration as necessary with additional information or disclosures in the event that

 additional information is developed concerning potential adverse interests come to light.

                5.      To the best of my knowledge and insofar as I have been able to ascertain,

 except as set forth herein, neither Paul, Weiss nor any of its partners, counsel or associates has

 any connection with the Debtors’ creditors, any party in interest, or their respective attorneys or

 accountants, the Office of the United States Trustee for region 13, or any person employed in the

 Office of the United States Trustee for region 13, except to the extent that any such partner,

 counsel or associate (i) may have appeared in the past and may appear in the future in cases

 where one or more of such parties may be involved; and (ii) may have represented or may

 represent one or more of such parties in interest in matters unrelated to these Chapter 11 Cases.

                6.      By separate applications, the Debtors have asked or will ask the Court to

 approve the retention of (a) Carmody MacDonald as local bankruptcy counsel; (b) Alvarez &

 Marsal as financial advisor and consultants for the Debtors; (c) PJT Partners Inc. (“PJT

 Partners”) as investment bankers for the Debtors; (d) Ernst & Young (“E&Y”) as auditors and

 tax advisors for the Debtors; (e) and Prime Clerk (together with Paul, Weiss, Carmody

 MacDonald, Alvarez & Marsal, PJT Partners, and E&Y, the “Professionals”) as claims and

 noticing agent and administrative advisor to the Debtors. Paul, Weiss will work closely with the

 Professionals, taking whatever steps are necessary and appropriate to avoid any unnecessary

 duplication of effort with the Professionals.

                7.      In light of the extensive number of the Debtors’ creditors and parties in

 interest and because definitive lists of all such creditors and other parties have not yet been

 obtained, neither I nor the Firm are able to conclusively identify all potential relationships at this



                                                   4
Case 16-10083        Doc 170    Filed 02/17/16 Entered 02/17/16 18:38:46            Main Document
                                             Pg 17 of 48


 time, and we will supplement this disclosure as additional relationships come to our attention.

 To the extent that I become aware of any additional relationships that may be relevant to Paul,

 Weiss’ representation of the Debtors, I will promptly file a supplemental declaration.

                8.      Based upon my review of all of Paul, Weiss’ connections in these Chapter

 11 Cases, I submit that Paul, Weiss is a “disinterested person” as that term is defined in section

 101(14) of the Bankruptcy Code, in that the Firm, its partners, counsel and associates:

                a.      are not creditors, equity security holders or insiders of the
                        Debtors;

                b.      are not and were not investment bankers for any
                        outstanding security of the Debtors;

                c.      have not been, within three (3) years before the Petition
                        Date, (i) investment bankers for a security of the Debtors;
                        or (ii) an attorney for such an investment banker in
                        connection with the offer, sale, or issuance of a security of
                        the Debtors; and

                d.      are not and were not, within two (2) years before the
                        Petition Date, a director, officer or employee of the Debtors
                        or of any investment banker as specified in subparagraph
                        (b) or (c) of this paragraph.

                9.      Except as set forth above, to the best of my knowledge and insofar as I

 have been able to ascertain, neither Paul, Weiss nor any of its partners, counsel or associates

 holds or represents any interest adverse to the Debtors or their estates in the matters upon which

 it is to be engaged.

                10.     Paul, Weiss was retained by the Debtors for this engagement and began

 working on this matter on or about September 15, 2015. Paul, Weiss received a retainer from the

 Debtors in the amount of $75,000 on October 2, 2015 and additional retainers of $500,000.00 on

 December 21, 2015 and $500,000.00 on January 29, 2016.

                11.     Within the ninety (90) days immediately preceding the Petition Date, Paul,


                                                  5
Case 16-10083           Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46            Main Document
                                               Pg 18 of 48


 Weiss received the following amounts from the Debtors in connection with their representation

 of the Debtors:

                 Date Received                                  Amount of Payment
                February 7, 2016                                                $686,138.79
                January 29, 2016                                              $1,116,923.67
                January 26, 2016                                              $1,193,085.45
               December 22, 2015                                                $386,618.96
               November 12, 2015                                                  $47,195.54
                    TOTAL                                                     $3,429,962.41

 These amounts include amounts drawn from the retainers described above. Other than as set

 forth herein, Paul, Weiss has not received any payments from the Debtors during the ninety (90)

 days immediately preceding the Petition Date.

                   12.     The professional services of Paul, Weiss are necessary to ensure that all

 matters related to the Debtors’ Chapter 11 Cases are handled in a diligent and expeditious

 manner. Paul, Weiss will seek Court approval of its compensation and reimbursement of its

 actual, necessary expenses and other charges incurred by the Firm, consistent with its

 engagement agreement with the Debtors dated January 4, 2016 upon the filing of appropriate

 applications for interim and final compensation and reimbursement pursuant to sections 330 and

 331 of the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and any orders of this Court.

 The current standard hourly rates for Paul, Weiss’ attorneys and paralegals are as follows:

                   a.      Partners                      $995 to $1,130

                   b.      Associates                    $540 to $900

                   c.      Legal Assistants              $95 to $315

                   d.      Staff Attorneys               $425 to $440

 In the normal course of its business, Paul, Weiss revises its hourly rates annually.

                   13.     The principal attorneys designated to represent the Debtors, along with



                                                     6
Case 16-10083      Doc 170      Filed 02/17/16 Entered 02/17/16 18:38:46               Main Document
                                             Pg 19 of 48


 their levels of experience and current standard hourly rates, are:

      Alan W. Kornberg (Partner)                 38 years of experience           $1,330 per hour

      Elizabeth R. McColm (Partner)              17 years of experience           $1,150 per hour

      Alexander Woolverton (Associate)            4 years of experience            $805 per hour

      Michael M. Turkel (Associate)                1 year of experience            $620 per hour

 Other Paul, Weiss lawyers will be consulted and may appear on behalf of the Debtors in these

 Chapter 11 Cases, as necessary. None of the professionals included in this engagement vary

 their rate based on the geographic location of these Chapter 11 Cases.

                14.     The hourly rates set forth above are the Firm’s standard hourly rates.

 These rates are set at a level designed to fairly compensate the Firm for the work of its attorneys

 and paralegals and to cover fixed and routine overhead expenses. The Firm has not agreed to

 any variations from, or alternatives to, its standard billing arrangements for this engagement.

                15.     In addition, it is the Firm’s policy to charge its clients in all areas of

 practice for all other expenses incurred in connection with the client’s case. The expenses

 charged to clients include, among other things, telephone and telecopier toll and other charges,

 mail and express mail charges, special or hand delivery charges, document processing,

 photocopying charges, charges for mailing supplies (including, without limitation, envelopes and

 labels) provided by the Firm to outside copying services for use in mass mailings, travel

 expenses, expenses for “working meals,” computerized research, transcription costs, as well as

 non-ordinary overhead expenses approved by the client such as secretarial and other overtime.

 The Firm will charge the Debtors for these expenses in a manner and at rates consistent with

 charges made generally to the Firm’s other clients. The Firm believes that it is fairer to charge

 these expenses to the clients incurring them than to increase the hourly rates and spread the


                                                   7
Case 16-10083      Doc 170      Filed 02/17/16 Entered 02/17/16 18:38:46            Main Document
                                             Pg 20 of 48


 expenses among all clients.

                16.     The Debtors have requested authorization to retain Carmody MacDonald

 as their local bankruptcy counsel in these Chapter 11 Cases by application filed

 contemporaneously herewith. Paul, Weiss will work closely with all the Professionals that may

 be retained by the Debtors, taking whatever steps are necessary and appropriate to avoid any

 unnecessary duplication of effort with such other professionals.

                17.     No agreement or understanding in any form or guise exists between Paul,

 Weiss and any other person for a division of compensation for services rendered in or in

 connection with these Chapter 11 Cases, and no such division of compensation prohibited by

 section 504 of the Bankruptcy Code will be made, except among members of Paul, Weiss. Paul,

 Weiss has not shared or agreed to share any compensation received in these Chapter 11 Cases

 with any entity other than its partners, counsel and associates.

                      Attorney Statement Regarding U.S. Trustee Guidelines

 The following is provided in response to the request for additional information set forth in

 Paragraph D.1. of U.S. Trustee’s Guidelines for Reviewing Applications for Compensation and

 Reimbursement of Expenses Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11

 Cases Effective as of November 1, 2013:

        Question: Did you agree to any variations from, or alternatives to, your standard
        or customary billing arrangements for this engagement?

        Response: No.

        Question: Do any of the professionals included in this engagement vary their rate
        based on the geographic location of the bankruptcy case?

        Response: No.

        Question: If you represented the client in the 12 months prepetition, disclose your
        billing rates and material financial terms for the prepetition engagement,
        including any adjustments during the 12 months prepetition. If your billing rates


                                                  8
Case 16-10083       Doc 170      Filed 02/17/16 Entered 02/17/16 18:38:46            Main Document
                                              Pg 21 of 48


         and material financial terms have changed postpetition, explain the difference and
         the reasons for the difference.

         Response: Prior to October 1, 2015 Paul, Weiss’ rates for timekeepers for its
         prepetition engagement on this matter were $940 to $1,275 for partners, $900 to
         $925 for counsel, $510 to 855 for associates and $90 to $295 for
         paraprofessionals. As agreed with the Debtors, and in accordance with Paul,
         Weiss’ practice of adjusting its rates on an annual basis, after October 1, 2015,
         Paul, Weiss’ prepetition rates for partners engaged on this matter increased to
         $995 to $1,330. Paul, Weiss’ billing rates have not changed postpetition or on
         January 1, 2016.

         Question: Has your client approved your prospective budget and staffing plan,
         and, if so for what budget period?

         Response: Paul, Weiss has delivered a prospective budget and staffing plan for
         the period from the Petition Date through April 30, 2016 to the Debtors and will
         continue to work with the Debtors on the budget and staffing plan.



 WHEREFORE, the declarant respectfully requests the entry of the annexed order and for such

 other and further relief as is just and proper.

 Dated: February 17, 2016
                                                   /s/ Alan W. Kornberg___________
                                                   Alan W. Kornberg




                                                     9
Case 16-10083   Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46   Main Document
                                       Pg 22 of 48


                                    Schedule 1
Case 16-10083     Doc 170       Filed 02/17/16 Entered 02/17/16 18:38:46         Main Document
                                             Pg 23 of 48


                        LIST OF POTENTIAL PARTIES IN INTEREST

 (A) DEBTORS, NON-DEBTOR                          3i Debt Management US LLC
 AFFILIATES, AND SUBSIDIARIES                     Aegon USA Investment Management LLC
 NHB Capital, LLC                                 Allianz Global Investors US LLC
 Noranda Bauxite Holdings Ltd.                    Atrium XI
 Noranda Bauxite Ltd.                             Bank of America
 Gramercy Alumina Holdings II, Inc.               Bank of America, N.A.
 Gramercy Alumina Holdings Inc.                   Barclays
 Noranda Alumina LLC                              Bentham Wholesale Syndicated
 Noranda Aluminum Acquisition                     BlueMountain Capital Management, LLC
 Corporation
                                                  Boston Management and Research
 Noranda Aluminum Holding Corporation
                                                  Carlson Capital LP
 Noranda Aluminum, Inc.
                                                  Carlyle Investment Management LLC
 Noranda Intermediate Holding Corporation
                                                  Centerbridge Group
 Norandal USA, Inc.
                                                  Citibank
 Noranda Jamaica Bauxite Partners
                                                  Citibank, N.A.
 (B) ADMINISTRATIVE AGENTS
                                                  Columbia Management Investment Advisers
 Bank of America, N.A.                            LLC
 Cortland Capital Market Services LLC             Credit Suisse
 (C) INDENTURE TRUSTEE                            Credit Suisse
 U.S. Bank National Association                   Credit Suisse AG
 (D) BANKRUPTCY JUDGES                            Credit Suisse Alternative Capital LLC
 Chief Judge Kathy Surratt-States                 Eaton Vance Management Inc.
 Judge Barry S. Schermer                          Foothill Capital Corporation
 Judge Charles E Rendlen, III                     Fraser Sullivan Investment Management
                                                  LLC
 (E) BANKRUPTCY
 PROFESSIONALS                                    GoldenTree Asset Management, LP
 Alvarez & Marsal North America, LLC              Goldman Sachs Group, Inc. (The)
 Paul, Weiss, Rifkind, Wharton & Garrison         Guggenheim Investment Management, LLC
 LLP                                              Guggenheim Partners Asset Management,
 PJT Partners                                     LLC
 Prime Clerk                                      Guggenheim Partners Investment
 (F) LENDERS
Case 16-10083      Doc 170     Filed 02/17/16 Entered 02/17/16 18:38:46        Main Document
                                            Pg 24 of 48


 Guggenheim Partners Investment                  Morgan Stanley Wealth Management
 Management LLC                                  NNIP Advisors B.V.
 H.I.G. Whitehorse Capital LLC                   Nomura Corporate Research and Asset
 Hotchkis & Wiley Capital Management             Management, Inc. (U.S.)
 JP Morgan                                       Stocks and Securities, Ltd.
 Madison Park Funding IV                         Third Avenue Management, LLC
 Madison Park Funding VIII                       Tocqueville Asset Management, L.P.
 Madison Park Funding XV                         UBS Securities, LLC
 MJX Asset Management, LLC                       (H) BANKS
 Napier Park Global Capital LP                   Bank of America
 Nomura Corporate Research and Asset             M & T Bank
 Management Inc.
                                                 JP Morgan Chase
 Siemens
                                                 Fifth Third Bank
 Silvermine Capital Management LLC
                                                 Bank of Nova Scotia
 Sound Harbor Partners
                                                 National Commercial Bank
 Strategic Value Partners, LLC
                                                 (I) SIGNIFICANT CUSTOMERS
 Surela Investments Ltd. (Sherwin Alumina)
                                                 3M Company
 UBS
                                                 A. J. Oster West, Inc.
 US Bank
                                                 AAF-McQuay Inc.
 Wells Fargo
                                                 AAON Coil Products, Inc.
 Whitehorse Capital Partners LP
                                                 ABB Inc.
 (G) BONDHOLDERS
                                                 AKG North American Operations
 Brownstone Investment Group, LLC
                                                 Alcoa
 Concise Capital, LLC
                                                 All Foils Inc.
 Credit Suisse Asset Management, LLC
                                                 AMS
 (U.S.)
                                                 ARG International AG
 Euroclear Bank
                                                 Ascend Custom Extrusions, LLC
 Fidelity International Limited - FIL
 Investment Services (U.K.), Ltd.                Autoneum North America, Inc.
 Fore Research & Management, L.P.                Avery Dennison Corporation
 Garland Business Corp                           Bard Manufacturing
 Hotchkis and Wiley Capital Management,          Berry Plastics Corp.
 LLC                                             Bohn de Mexico, S.A. de C.V.
 J.P. Morgan Investment Management, Inc.         Brady Corporation


                                             2
Case 16-10083       Doc 170    Filed 02/17/16 Entered 02/17/16 18:38:46        Main Document
                                            Pg 25 of 48


 Brazeway Inc.                                   Elringklinger USA, Inc.
 BRT Extrusions, Inc.                            Encore Wire Corporation
 C & H Die Casting                               Evapco, Midwest
 Cadillac Products Packaging Company             FCA US
 Carrier Air Conditioning                        Flexcon Industrial, LLC
 Carrier Mexico S.A. de C.V.                     Gateway Extrusions, Ltd.
 CBC Metals Processing                           General Cable Corporation
 Central Moloney, Inc.                           General Cable de Mexico, S.A. de C.V.
 Century Aluminum Company                        General Motors Components Hold
 Century Aluminum of Sebree LLC                  GEO Specialty Chemicals
 Chief Industries                                Gibbs Die Casting Corporation
 Claridge Products & Equip Inc.                  Glencore Ltd.
 Claridge Products & Equipment                   Glitterex Corporation
 Coating Excellence International                H & W Wire Corp.
 Coilmaster Corporation                          Handi-Foil
 Colmac Coil Manufacturing Inc.                  Howard Industries
 Comet Metals Co.                                Hydro Aluminum
 Conductores Monterrey, S.A. de C.V.             Hydro Aluminum North America
 Constellium                                     Ideal Tape Co., Inc.
 Cooper Industries/RTE                           Intertape Polymer Group
 Crown Extrusions, Inc.                          J M Huber Corporation
 Custom Aluminum Products, Inc.                  J. Aron & Co.
 Custom Grinders                                 James Hardie Building Products
 Custom Laminating Corporation                   JBC Technologies
 D & W Fine Pack                                 Kemira Water Solutions, Inc.
 Daikin Applied                                  KY Assoc. of Electric Coop.
 Dee Zee, Inc.                                   Lasalle Bristol Corporation
 Des Champs Laboratories                         Lennox Industries, Inc.
 DRS-Marlo Coil                                  Leroy Somer North America
 Durable, Inc.                                   Liebert Corporation
 Electric Research & Manufacturing Co.           Lite Gauge Metals
 Electromanufacturas, S. de R.L. de C.V.         Luvata Heatcraft
 Elixir Extrusions, LLC                          Lydall Thermal/Acoustical


                                             3
Case 16-10083       Doc 170     Filed 02/17/16 Entered 02/17/16 18:38:46      Main Document
                                             Pg 26 of 48


 Lynch Metals                                     Southeastern Tool & Die
 Marley Electric Heating Co.                      Southern Ionics
 Marubeni America Corp./Detroit                   Southwest Electric Company
 Medalco Metals, Inc.                             Sun Process Converting, Inc.
 Metal Exchange Corp.                             Super Radiator Coils
 Mitsubishi International Corporation             Superior Essex
 Modine Manufacturing Co.                         Superior Essex Communications
 Nehring Electrical Works Co                      Superior Essex International LP
 New Age Industrial Corp Inc.                     Superior Extrusion, Inc.
 Nordyne Inc.                                     Swarco
 Peerless of America, Inc.                        Temtrol
 Penn Aluminum International LLC                  The Okonite Company
 Penny Plate Inc.                                 The Trident Company
 Ply Gem                                          Three D Metals, Inc.
 Porocel Industries, LLC                          Thyssenkrupp Materials NA
 Power Partners, Inc.                             Tower Extrusions
 PQ Corporation                                   Trafigura Trading LLC
 Printpack, Inc.                                  Trane Air Conditioning
 Prolec GE International                          Trinidad Benham Corp
 Prometco                                         UOP, LLC
 Prysmian Cables and Systems USA LLC              US Alco
 REA Magnet Wire Co. Inc.                         Ventrol Air Handling Systems Inc.
 Research Products Corp.                          W. R. Grace & Co.
 Revere Packaging                                 Western Extrusion Corporation
 Rheem Manufacturing Company                      Western Plastics Inc.
 RPS Products                                     (J) DIRECTORS & OFFICERS
 Samuel                                           Alan H. Schumacher
 Scepter Resources                                Antoine Liddell
 Shurtape Technologies, Inc.                      Carl J. Rickertsen
 Siemens Energy, Inc.                             Carol R. Clifton
 Siplast Incorporated                             Dale W. Boyles
 Smart USA                                        Donald J. Suray
 Snap-Lok, Inc.


                                              4
Case 16-10083         Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46        Main Document
                                             Pg 27 of 48


 Elliot G. Sagor                                  Collector of Taxes, Jamaica
 Gail E. Lehman                                   Corporation Income Tax, State of Arkansas
 Greg L. North                                    Delaware Division of Revenue
 John Habisreitinger                              Department of Finance & Administration,
                                                  State of Arkansas
 Julio C. Diniz Costa
                                                  Department of the Treasury
 Layle K. Smith
                                                  Florida Department of Economic
 Michael J. Griffin
                                                  Opportunity
 Mike Fox
                                                  Florida Department of Revenue
 Nina A. Corey
                                                  Georgia Department of Revenue
 Pansy Johnson
                                                  Illinois Department of Employment Security
 Pasquale "Pat" Fiore
                                                  Illinois Department of Revenue
 Patrice Niedbalski
                                                  Indiana Dept. of Revenue
 Richard B. Evans, Chairman
                                                  Inland Department of Revenue of St. Lucia
 Ronald S. Rolfe
                                                  Internal Revenue Service Headquarters
 Scott M. Croft                                   Building
 Stephen Robuck                                   Iowa Dept. of Revenue
 Thomas R. Miklich                                Jackson County, Dianne Burgess Collector
 Todd D. Barrett                                  Kansas Dept. of Revenue
 William H. Brooks                                Kentucky Department of Revenue
 (K) PERMIT ISSUERS AND                           Louisiana Department of Revenue
 REGULATORS RELEVANT TO                           Massachusetts Dept. of Revenue
 THE DEBTORS
                                                  Missouri Department of Revenue
 Government of Jamaica
                                                  Missouri Department of Labor
 (L) RELEVANT TAXING
 AUTHORITIES                                      N.C. Department of Revenue

 Alabama Department of Labor                      Nebraska Dept. of Revenue

 Alabama Department of Revenue                    New Jersey Department of Labor and
                                                  Workforce Development
 Arizona Dept. of Revenue
                                                  New Jersey Division of Taxation
 Arkansas Department of Finance and
 Administration                                   New Madrid County Collector - Dewayne
                                                  Nowlin
 Arkansas Department of Workforce Services
                                                  New York State Dept. of Taxation and
 California State Board of Equalization           Finance
 Carroll County Trustee                           North Carolina Department of Revenue



                                              5
Case 16-10083     Doc 170     Filed 02/17/16 Entered 02/17/16 18:38:46         Main Document
                                           Pg 28 of 48


 NYS Corporation Tax                            Aspen Insurance- United Kingdom
 Pennsylvania Department of Revenue             Axis Insurance Company
 Pennsylvania Dept. of Labor and Industry       Berkley Insurance Co.
 Rowan County Tax Collector                     Commerce and Industry Insurance Company
 South Carolina Department of Revenue           Endurance Risk Solutions ASS
 St. James Parish Property Taxes                Factory Mutual Insurance Co.
 St. John Parish Property Taxes                 Freedom Specialty Insurance Co.
 State of Louisiana Unemployment Office         Hanseatic Insurance Co.
 State of New Jersey                            Illinois National Insurance Co.
 State of New Mexico                            Insurance Co. of State of PA
 State of Tennessee                             Liberty Mutual Fire Ins. Co.
 State of Tennessee Unemployment Office         Liberty Surplus Ins. Corp.
 State of Texas Unemployment Office             Lloyds of London
 Tax Administration Jamaica, King Street        National Union Fire Insurance Co. of
 Revenue Centre                                 Pittsburgh, PA
 Tennessee Department of Revenue                Navigators Insurance Company
 Texas Comptroller of Public Accounts           New Hampshire Insurance Company
 Texas Department of Revenue                    North American Specialty Insurance
                                                Company
 Town of Huntingdon
                                                Ohio Casualty Insurance Co
 Washington Department of Revenue
 Washington Employment Security                 Scor UK Company
 Department                                     Starr Indemnity & Liability Company
 Williamson County, TN                          Steadfast Insurance Company
 Wisconsin Department of Revenue                Swiss Re International
 (M) INSURANCE PROVIDERS                        Twin City Fire Insurance Co.
 ACE American Insurance Company                 Xl Insurance America, Inc.
 ACE Bermuda Insurance                          Zurich
 ACE Property & Casualty Insurance              (N) LANDLORDS
 Company                                        Five Corporate Centre Acquisition Company
 ACE Property & Casualty Insurance
                                                Max Trans
 Company
                                                SH Bell Company
 AIG Europe Limited
                                                (O) LITIGATION
 American Guarantee & Liability Ins.
                                                COUNTERPARTIES
 American International Reinsurance Co.


                                            6
Case 16-10083        Doc 170     Filed 02/17/16 Entered 02/17/16 18:38:46       Main Document
                                              Pg 29 of 48


 Asbestos Corporation, Limited                     (P) ORDINARY COURSE
 Cape Fox Corporation                              PROFESSIONALS
 Caterpillar, Inc.                                 Burris, Thompson & Associates
 CBS Corporation, f/k/a Viacom, Inc.,              Cambridge Advisory Group, Inc.
 merger to CBS Corporation, f/k/a                  Cole Schotz, P.C.
 Westinghouse Electric Corp.
                                                   Crowe Horwath LLP
 Certain-Teed Corporation
                                                   Davis Polk
 Continental Teves, Inc.
                                                   Fay, Nelson & Fay, LLC
 Crown, Cork and Seal Company, Inc.
                                                   FDH Consulting, LLC
 CSR, Ltd., a/k/a Consolidated Sugar and
 Refining                                          FDH Resources, LLC

 Donjon Marine Co. Inc.                            Frost Brown Todd, LLC

 General Electric Company                          Greystone Capital Partners

 General Gasket Corporation                        Henry W. Fayne

 Georgia-Pacific, LLC                              Jackson Lewis LLP

 Goodison Mining Limited                           Kean, Miller, Hawthorne, D'Armond,
                                                   McCowan & Jarman, LLP
 Government of Jamaica
                                                   Lattimore, Black, Morgan, & Cain, PC
 Grinnell, LLC
                                                   Matthews & Zahara, P.C.
 Honeywell International, Inc.
                                                   McHaney & Associates, Inc.
 J.P. Bushnell Packing Supply Co.
                                                   Morgan, Lewis & Bockius, LLP
 John Crane, Inc.
                                                   O'Melveny & Myers LLP
 Kaiser Jamaica Bauxite Company
                                                   Osburn, Hine, Yates & Murphy, LLC
 Louisiana Department of Environmental
 Quality (LDEQ)                                    PerformPlus Consulting, LLC

 Metropolitan Life Insurance Company               Polsinelli PC

 Navar, Inc.                                       Porter Hedges LLP

 Pnuemo Abex Corporation                           Robinson & Lawing, LLP

 Rachel Carlton                                    Saiber LLC

 Riley Power, Inc. f/k/a Riley Stoker              Sedgwick Law
 Corporation                                       Semler Brossy Consulting Group, LLC
 The Dow Chemical Company                          Steven Plotkin
 The J.R. Clarkson Company, successor to           Thompson Hine, LLC
 The Knuckle Valve Company and successor
                                                   Towers Watson Delaware, Inc.
 to J.E. Lonergan Company
                                                   Vaco, LLC
 Union Carbide Corporation


                                               7
Case 16-10083      Doc 170    Filed 02/17/16 Entered 02/17/16 18:38:46       Main Document
                                           Pg 30 of 48


 Wachtell, Lipton, Rosen & Katz                 Four Star Fabricators Inc.
 Windrow Phillips Group                         FTI Logistics
 (Q) NON-LENDER SECURED                         GE Canada
 PARTIES                                        General Electric Canada
 A & B Transport, Inc.                          Geodis Wilson USA, Inc.
 AEP River Operations LLC                       Gulf Inland Marine Services, Inc.
 American River Transportation                  Hapag Lloyd (America) Inc.
 Ameridrivers International                     Hot Shot Freight
 Anytime Hotshot & Delivery                     Hull Trucking
 AOA Services, Inc.                             Ingram Barge Company
 Artco                                          K.S. & D., Inc.
 Averitt Express, Inc.                          Kansas City Southern Railway
 AWC, Inc.                                      Livingston International
 Boland Marine & Manufacturing Company          LME, Inc.
 Buchheit Trucking Service, Inc.                Lock City Trucking, Inc.
 CDW Direct, LLC                                Lufkin Southeastern Gear Repair
 Celtic Marine Corporation                      M & S Specialized LLC
 CN                                             Marisol International LLC
 Con-Way                                        Max Trans L.L.C.
 CRH Transportation                             Mid-Ship Group LLC
 CSX Transportation                             Mid-Ship Logistics Group
 Cummings-Moore Graphite Co.                    Motion Industries, Inc.
 Dayton Freight Lines Inc.                      Neo Industries Inc. (05)
 DHL Express                                    Nola Logistics Services, LLC
 Direct Freight Corporation                     Nova Hydraulics
 DMI Contractors, Inc.                          Oakley Trucking, Inc.
 DNOW L.P. (Wilson Mill, Tool)                  Old Dominion Freight Line
 Eagle Ship Supply, Inc.                        Paincourtville Motor Service, Inc.
 Em-Cal Inc.                                    Penzel Construction Company
 Estes Express Lines                            Ports America, Inc.
 Faith Global Transportation, LLC               Primetals Technologies USA,LLC
 Farmers Oil Corp.                              Quality Carriers, Inc.
 Federal Express                                R&L Carriers, Inc.


                                            8
Case 16-10083      Doc 170       Filed 02/17/16 Entered 02/17/16 18:38:46      Main Document
                                              Pg 31 of 48


 Radiatronics NDT, Inc.                            Alexin LLC
 Remedial Construction Services L.P.               Alpha Aluminum Products Inc.
 Ryder Capital, S.A. de C.V.                       Century Aluminum
 Saia Motor Freight Line, Inc.                     Glencore
 Satterfields                                      JW Aluminum
 Scepter, Inc.                                     Matalco
 Schwerman Trucking Co.                            Norsk Hydro
 Scott Financial Services, LLC                     Novelis
 SH Bell Company                                   Rio Tinto Alcan
 Shultz Steel Company                              Sherwin
 SNT Trucking & Warehousing                        Southwire
 Southeastern Freight Lines                        Sural
 St Jude Harbor New Madrid Harbor Serv.            (S) SIGNIFICANT
 St. James Stevedoring Partners, LLC               SHAREHOLDERS
 St. John Fleeting, LLC                            Hotchkis & Wiley Capital Management
 St. Jude & New Madrid Harbor Service, Inc.        Royce and Associates Inc.
 Superior Carriers, Inc.                           (T) 30 LARGEST UNSECURED
                                                   CREDITORS
 TBS Logistics Mo
                                                   American River Transportation
 Tennessee Aluminum Processors, Inc.
                                                   Aramark
 The CIT Group/Capital Finance, Inc.
                                                   Artisan Contracting, LLC
 Transwood Logistics, Inc.
                                                   Associated Terminals, LLC
 Union Pacific Railway
                                                   Boh Brothers Construction Co., L.L.C.
 United Parcel Service
                                                   Carmeuse Lime Sales Corporation
 United Power Services
                                                   DMI Contractors, Inc.
 USF Holland
                                                   Donjon Marine Co. Inc.
 Xtek, Inc.
                                                   EIU, Inc.
 Youngstown Hard Chrome
                                                   Goodison Mining Limited
 YRC
                                                   HDR Inc.
 Ziegler
                                                   Koppers Industries, Inc.
 (R) SIGNIFICANT COMPETITORS
                                                   Kostmayer Construction, LLC
 Alcoa
                                                   Max Trans L.L.C.
 Aleris
                                                   Mechatherm


                                               9
Case 16-10083        Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46       Main Document
                                            Pg 32 of 48


 Mexichem Fluor Comercial, S.A. de C.V.           University and Allied Workers Union
                                                  (UAWU)
 Mid-Ship Group LLC
 Motion Industries, Inc.                          (W) UTILITY PROVIDERS
 Nalco Company                                    Air-Nu of Baton Rouge, L.L.C.

 Nissan Lift Trucks                               Alcoa Primary Metals

 Occidental Chemical Corporation                  Allied Waste Services

 Petrocoque S.A.                                  Amerenue

 Progressive Roofing                              Associated Electric Cooperative

 Rain CII Carbon, L.L.C.                          AT&T

 Remedial Construction Services L.P.              Atmos Energy Marketing, LLC

 Sherwin Alumina Co., LLC                         Austin Fire Systems LLC

 Steward Steel                                    Big River Telephone Co. LDD, Inc.

 U.S. Bank National Association                   Carroll County Electric Dept.

 University and Allied Workers Union              Centerpoint Energy

 Vecta Environmental Services, LLC                Charter Communications Holding Co.
                                                  Chemical Waste Management Inc.
 (U) U.S. TRUSTEE
                                                  Cintas Fire Protection
 Barbara J. Dorsey
                                                  City of Salisbury
 Cynthia E. Moore
                                                  Comcast
 Karen R. Wilson-Smith
                                                  Continuum Retail Energy Services, LLC
 Kathy Lickenbrock
                                                  Cox Communications Louisiana, LLC
 Leonora S. Long
                                                  Diaz Water Department
 Margaret E. Slaughter
                                                  Downums Disposal Service
 Martha M. Dahm
                                                  Duke Energy
 Paul Randolph
                                                  Enable Gas Transmission, LLC
 Sandra Herling
                                                  Entergy Services, Inc.
 (V) UNIONS
                                                  Lemons Landfill Corporation
 Bustamante Industrial Workers Union
 (BITU)                                           Level 3 Communications, LLC
 International Association of Machinists &        Liberty Utilities
 Aerospace Workers                                Pemiscot-Dunklin Electric Cooperative
 Union of Technical, Administrative and           Piedmont Natural Gas Co.
 Supervisory Personnel (UTASP)
                                                  Republic Services
 United Steelworkers of America



                                             10
Case 16-10083       Doc 170       Filed 02/17/16 Entered 02/17/16 18:38:46        Main Document
                                               Pg 33 of 48


 Republic Waste Services of North Carolina,          Autoneum
 LLC                                                 Avkem International LLC
 St. Jude Industrial Park Board                      Bank of America- HSA
 St. John the Baptist Parish Utilities               Bawtry Carbon International Limited
 Texican Horizon Energy Marketing LLC                Belisle Machine and Tool
 Town of Huntingdon                                  Bigbites Limited
 Twin Eagle Resource Management, LLC                 Bluequest Resources Overseas Ltd.
 Union Electric Company                              Boh Brothers Construction
 Verizon Wireless                                    Brubaker Associates, Inc.
 Waste Management of TN-Jackson                      Bryan Cave LLP
 West TN Public Utilities Dist.                      Buss AG
 (X) KEY VENDORS                                     Calumet Lubricants Company
 3M                                                  Calumet Penreco
 A. Karchmer & Sons, LLC                             Cape Electrical Supply Co.
 A.W. Chesterton Company                             Caraustar Ind., Inc.
 Air Products & Chemicals, Inc.                      Carlton-Bates Company
 Alcoa Primary Metals                                Carmeuse Lime Sales Corporation
 Alcoa, Inc. North America Primary Division          Carrier Corporation
 Aluminpro, Inc.                                     Carroll County Electric Dept.
 Aluminum Rheinfelden GmbH                           CCMA, LLC
 Aluminum Rheinfelden GmbH                           Centerpoint Energy
 American Chemical Technologies                      CMC Recycling
 American Iron & Metal                               CMC-Cometals
 American River Transportation                       Continuus Spa
 AMG Aluminum North America, LLC                     Cornerstone Chemical Company
 AOA Services, Inc.                                  Crowe Horwath LLP
 Aramark                                             Cytec Industries, Inc.
 ARG International                                   Dark Horse Rail Service
 Artisan Contracting, LLC                            Deep South Crane & Rigging, LLC
 Associated Electric Cooperative                     Dewayne Nowlin
 Associated Terminals, LLC                           DMI Contractors, Inc.
 AT&T Mobility                                       DNOW L.P. (Wilson PVF)
 Austin Fire Systems LLC                             Duke Energy


                                                11
Case 16-10083        Doc 170    Filed 02/17/16 Entered 02/17/16 18:38:46       Main Document
                                             Pg 34 of 48


 Ecovery, LLC                                      J.R. Hoe & Sons, Inc.
 Electroless Nickel Plating                        JBM Inc.
 Electroless Nickel Plating of LA                  Jiaozuo Fluochem Industry Co. Ltd
 Entergy                                           K.S. & D., Inc.
 ERB Industrial Equipment                          Kansas City Southern Railway
 Fleetwood-Signode                                 KBM Affilips B.V.
 Four Star Fabricators Inc.                        Koppers Industries, Inc.
 Frost Brown Todd, LLC                             Kostmayer Construction, LLC
 GE Canada                                         KT Grant, Inc.
 General Cable de Mexico                           Leeds Specialty Alloys, LLC
 General Electric Canada                           Legacy Equipment
 Gexpro                                            Lemons Landfill Corporation
 GHD Engineering Group Inc.                        Liberty Utilities
 Glencore Commodities                              Linde, Inc.
 Glencore, Ltd.                                    Lindsay Hamling
 Gregory Construction                              Louisiana Department of Revenue Sales
 GSM Sales Formerly Globe                          Lynn Whitsett Corporation
 GT Commodities                                    M & S Specialized LLC
 Gulf Inland Marine Services, Inc.                 Madison Electric Service Inc.
 Harbison Walker Refractories                      Manpower
 HDR Inc.                                          Mars Machine and Repair Services
 Henry A. Petter Supply Co.                        Max Trans L.L.C.
 Hertwich Engineering GmbH                         Mechatherm International Ltd.
 Hoesch Metallurgie GmbH                           Merichem Chemicals & Refinery Services
 Houghton International, Inc. (D.A. Stuart         Metal Exchange Corporation
 Company)                                          Metalloid Corporation
 Hunter Equipment Co., Inc.                        Metaullics Systems / Pyrotek
 Huntington Plating Inc.                           Mexichem Fluor Comercial, S.A. de C.V.
 Ideal Chemical & Supply Co.                       MFA Oil Company
 Imrie-Gielow Inc.                                 MH Equipment
 Industrial Chemicals Inc.                         Mid-Ship Group LLC
 Intelex                                           Motion Industries, Inc.
 J. Aron & Company                                 Neuenhauser Maschinenbau GmbH


                                              12
Case 16-10083      Doc 170        Filed 02/17/16 Entered 02/17/16 18:38:46         Main Document
                                               Pg 35 of 48


 New Age Industrial Corp. Inc.                       Ryder Capital
 Nissan Lift Trucks                                  S & W Pallet Company
 Noble Americas Corp.                                Safety-Kleen Systems Inc.
 Noble Resources                                     Scepter, Inc.
 Nola Logistics Services, LLC                        Service Aluminum Corporation
 Oakley Trucking, Inc.                               SGL Carbon GmbH
 Occidental Chemical Corporation                     SH Bell Company
 Onedo Nalco Company - Dallas                        Shultz Steel Company
 Oxbow Calcining LLC                                 Siemens Industry, Inc.
 Paincourtville Motor Service, Inc.                  Simcoa Operations Pty. Ltd.
 Parman Energy Corporation                           Sims Metal Management
 Pemiscot-Dunklin Electric Cooperative               Southwest Electric Co.
 Penzel Construction Company                         St. Jude Harbor New Madrid Harbor Serv.
 Petrocoque S.A.                                     St. Jude Industrial Park Board
 Phelps Dodge International                          Steven Plotkin
 Pipe Link of Australia                              Steward Steel
 Primetals Technologies USA, LLC                     TDC, LLC
 Pyrotek, Inc. (02)                                  Tennessee Aluminum Processors, Inc.
 Pyrotek,Inc./Neco Division (04)                     Tennessee Valley Recycling, LLC
 Quality Machine Manufacturing, Inc.                 Texican Horizon Energy Marketing LLC
 R.J. Tricon Co., LLC                                The Reynolds Company
 Rain CII Carbon, L.L.C.                             Trafigura Trading LLC
 Red Stick Armature Works, Inc.                      Transwood Logistics, Inc.
 Reintjes Services, Inc.                             Turner Specialty Services, LLC
 Remedial Construction Services L.P.                 Twin Eagle Resource Management, LLC
 Resource Tek, LLC                                   U.S. Maritime Services Inc.
 Rheinfelden Alloys                                  Vaco, LLC
 Rheinfelden Alloys GmbH and Co. KG                  Valicor Separation Technologies, LLC
 Riotinto Alcan Inc.                                 Valley West Welding Co. Inc.
 River Parish Contractors, Inc.                      Vecta Environmental Services, LLC
 RTW Refractory Inc.                                 Watson Standard Adhesives
 Ruetgers Canada Inc.                                Web Converting, Inc.
 RWH Myers                                           Whelan Security Co.


                                                13
Case 16-10083   Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46   Main Document
                                       Pg 36 of 48


 Worley Parsons HE                           Ziegler
 Xtek, Inc.




                                        14
Case 16-10083   Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46   Main Document
                                       Pg 37 of 48


                                    Schedule 2
Case 16-10083      Doc 170    Filed 02/17/16 Entered 02/17/16 18:38:46        Main Document
                                           Pg 38 of 48


              POTENTIAL PARTIES IN INTEREST OR AFFILIATES OF
             ENTITIES REPRESENTED BY PAUL, WEISS IN UNRELATED
                       MATTERS SINCE JANUARY 1, 2013


  Potential Parties In Interest                     Relationship to the Debtors
  3i Debt Management US LLC                         Term Loan Lender
  Aegon USA Investment Management LLC               Term Loan Lender
  AIG                                               Insurer
  Alcoa                                             Significant Competitor
                                                    Significant Customer

  Alcoa Primary Metals                              Utility Provider
                                                    Key Vendor
  Aleris                                            Significant Competitor
  Alvarez & Marsal North America LLC                Bankruptcy Professional for the Debtors
  AMG Aluminum North America LLC                    Key Vendor
  Aon                                               Ordinary Course Professional
  AT&T                                              Utility Provider
                                                    Key Vendor
  Bank of America, N.A.                             Administrative Agent under ABL and
                                                    Term Loan Agreement
                                                    ABL Lender
                                                    Term Loan Lender
                                                    Bank
  Bank of Nova Scotia                               Bank
  Barclays                                          ABL Lender
  BlueMountain Capital Management LLC               Term Loan Lender
  Boston Management and Research                    Term Loan Lender
  Bryan Cave LLP                                    Key Vendor
  California State Board of Equalization            Taxing Authority
  Carlson Capital LP                                Term Loan Lender
  Carlyle Investment Management LLC                 Term Loan Lender
  CBS Corporation                                   Litigation Counterparty
  Centerbridge Group                                Term Loan Lender
Case 16-10083        Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46        Main Document
                                            Pg 39 of 48


  Potential Parties In Interest                      Relationship to the Debtors
  Charter Communications Holding Co.                 Utility Provider
  Chemical Waste Management Inc.                     Utility Provider
  Cintas Fire Protection                             Utility Provider
  Citibank N.A.                                      ABL Lender
                                                     Term Loan Lender
  Comcast                                            Utility Provider
  Commerce and Industry Insurance Company            Insurer
  Credit Suisse AG                                   ABL Lender
                                                     Term Loan Lender
                                                     Bondholder
  Delaware Division of Revenue                       Taxing Authority
  Department of the Treasury                         Taxing Authority
  Duke Energy                                        Utility Provider
                                                     Key Vendor
  Eaton Vance Management Inc.                        Term Loan Lender
  Fifth Third Bank                                   Bank
  FTI Logistics                                      Secured Party
  General Electric Company                           Litigation Counterparty
                                                     Secured Party
                                                     Key Vendor
  Georgia-Pacific LLC                                Litigation Counterparty
  GoldenTree Asset Management LP                     Term Loan Lender
  Goldman Sachs Group Inc.                           Term Loan Lender
  Grinnell LLC                                       Litigation Counterparty
  Guggenheim Partners                                Term Loan Lender
  Illinois National Insurance Co.                    Insurer

  Insurance Company of State of PA                   Insurer
  JP Morgan Chase                                    Bank
                                                     ABL Lender
                                                     Bondholder
  JW Aluminum                                        Significant Competitor




                                             2
Case 16-10083       Doc 170   Filed 02/17/16 Entered 02/17/16 18:38:46        Main Document
                                           Pg 40 of 48


  Potential Parties In Interest                     Relationship to the Debtors
  Liberty Mutual Fire Insurance Company             Insurer
  M&T Bank                                          Bank
  Metropolitan Life Insurance Company               Litigation Counterparty
  Morgan Stanley Wealth Management                  Bondholder
  Napier Park Global Capital LP                     Term Loan Lender
  Noble Americas Corp.                              Key Vendor
  Noble Resources                                   Key Vendor
  Nomura Corporate Research and Asset               Term Loan Lender
  Management                                        Bondholder
  North American Specialty Insurance Company        Insurer
                                                    Top 30 Unsecured Creditor
  Occidental Chemical Corporation                   Key Vendor
  Oxbow Calcining LLC                               Key Vendor
  Pennsylvania Department of Revenue                Taxing Authority
  PJT Partners                                      Bankruptcy Professional for the Debtors
  Pneumo Abex Corporation                           Litigation Counterparty
  Richard B. Evans Chairman                         Current Director
  Rio Tinto Alcan                                   Significant Competitor
  Safety-Kleen Systems Inc.                         Key Vendor
  Siemens                                           ABL Lender
                                                    Significant Customer
                                                    Key Vendor
  Silvermine Capital Management                     Term Loan Lender
  Starr Indemnity & Liability Company               Insurer
  State of New Mexico                               Taxing Authority
  Strategic Value Partners                          Term Loan Lender

  Swiss Re International                            Insurer
  The CIT Group/Capital Finance Inc.                Secured Party
  The Dow Chemical Company                          Litigation Counterparty
  The Reynolds Company                              Key Vendor



                                               3
Case 16-10083     Doc 170     Filed 02/17/16 Entered 02/17/16 18:38:46        Main Document
                                           Pg 41 of 48


  Potential Parties In Interest                     Relationship to the Debtors
  Third Avenue Management LLC                       Bondholder
  Trafigura Trading LLC                             Significant Customer
                                                    Key Vendor
  U.S. Bank National Association                    Indenture Trustee of Unsecured Notes
  UBS                                               Bondholder
                                                    ABL Lender
  Union Carbide Corporation                         Litigation Counterparty
  Verizon Wireless                                  Utility Provider
  Viacom Inc.                                       Litigation Counterparty
  Waste Management of TN-Jackson                    Utility Provider
  Wells Fargo                                       ABL Lender
  XL Insurance America Inc.                         Insurer
  Zurich                                            Insurer




                                            4
Case 16-10083          Doc 170      Filed 02/17/16 Entered 02/17/16 18:38:46                     Main Document
                                                 Pg 42 of 48


                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MISSOURI
                                   SOUTHEASTERN DIVISION


 In re:                                                        Chapter 11

 NORANDA ALUMINUM, INC., et al.,                               Case No. 16-10083 399

                                    Debtors.                   (Jointly Administered)


                        DECLARATION OF GAIL LEHMAN IN
                    SUPPORT OF DEBTORS’ APPLICATION FOR AN
                   ORDER PURSUANT TO SECTIONS 327 AND 330 OF
               THE BANKRUPTCY CODE AND BANKRUPTCY RULES 2014
             AND 2016 AUTHORIZING THE RETENTION AND EMPLOYMENT
              OF PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP AS
             ATTORNEYS FOR THE DEBTORS AND DEBTORS IN POSSESSION

           I, Gail Lehman of Noranda Aluminum, Inc., in support of the application of Noranda

 Aluminum, Inc. and its affiliated debtors and debtors in possession in the above-captioned cases

 (collectively, the “Debtors”) to employ Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul

 Weiss” or the “Firm”) as counsel in compliance with 11 U.S.C. § 329(a) and Bankruptcy Rule

 2016(b), declares as follows:


                  1.       I am the Chief Administrative Officer, General Counsel and Corporate

 Secretary of the Debtors.

                  2.       I submit this declaration (the “Declaration”) in connection with the

 application (the “Application”), 1 dated February 17, 2016, of the Debtors for approval of the

 Debtors’ retention of Paul, Weiss as their attorneys in the above-captioned chapter 11 cases.

 Unless otherwise stated in this Declaration, I have personal knowledge of the facts set forth

 herein.

 1
     Unless otherwise defined herein, each capitalized term shall have the meaning ascribed to such term in the
     Application.
Case 16-10083        Doc 170      Filed 02/17/16 Entered 02/17/16 18:38:46               Main Document
                                               Pg 43 of 48


                                The Debtors’ Selection of Paul, Weiss

                3.        It is my strong belief that it is critical to select restructuring advisors with

 the utmost care, to maximize the likelihood of a successful restructuring, while at the same time

 focusing on costs to ensure that the Debtors’ limited resources are being appropriately utilized.

                4.        I, as General Counsel, along with several other members of the Debtors’

 senior management, am responsible for retaining and supervising outside counsel. I am familiar

 with the markets for professionals both in and out of bankruptcy. The review process that the

 Debtors used assessed potential counsel based on their expertise in representing chapter 11

 debtors and companies that restructure out of court.

                5.        Based on my experience, I was aware of Paul, Weiss’ preeminent

 restructuring practice and its work as lead counsel to numerous chapter 11 debtors and distressed

 companies that successfully restructured in and out of court, and particularly in connection with

 several significant coal company restructurings.

                6.        On September 11, 2015 and September 14, 2015, I and certain of my other

 colleagues interviewed Alan W. Kornberg of Paul, Weiss in connection with contemplated

 restructuring matters. Following those interviews and several subsequent conversations and e-

 mail exchanges with Mr. Kornberg, I recommended that the Debtors retain Paul, Weiss as

 restructuring counsel.

                7.        In preparation for their chapter 11 cases, the Debtors considered four other

 law firms and chose Paul, Weiss for the role of lead restructuring counsel for, among other

 reasons, Paul Weiss’ substantial experience representing debtors in chapter 11 cases.

                8.        Since September of 2015, Paul, Weiss has advised the Debtors on various

 restructuring issues, including both in-court and out-of-court strategies. During that time, Paul,




                                                     2
Case 16-10083        Doc 170    Filed 02/17/16 Entered 02/17/16 18:38:46              Main Document
                                             Pg 44 of 48


 Weiss has become intimately familiar with the Debtors’ businesses and many of the potential

 legal issues that may arise in the context of these chapter 11 cases. I believe, for this reason, as

 well as because of Paul, Weiss’ extensive experience in corporate reorganizations, that Paul,

 Weiss is both well-qualified and uniquely able to represent the Debtors in these chapter 11 cases

 in an efficient and timely manner.

                                   Rate Structure and Cost Supervision

                9.      In connection with the filing of these chapter 11 cases, the Debtors and

 Paul, Weiss have agreed upon rates in accordance with Paul, Weiss’ customary rates.

 Furthermore, Paul, Weiss has informed the Debtors that its billing rates and material terms for

 the engagement are comparable to (i) the rates that Paul, Weiss charges for non-bankruptcy

 representations and the material terms for such non-bankruptcy engagements and (ii) the billing

 rates and terms of other comparably skilled counsel.

                10.     The Debtors understand that it is their responsibility to track their

 professionals’ billing practices to be sure that the fees and expenses the estates pay are fair and

 reasonable, and the Debtors will review the fee statements of Paul, Weiss and of all of the

 Debtors’ other professionals to ensure that continues to be the case.

                11.     Paul, Weiss has shared with me a prospective budget and staffing plan for

 the period from February 8, 2016 through April 31, 2016. I continue to review and work with

 Paul, Weiss on the budget and staffing plan. I also understand that, in the course of large chapter

 11 cases such as these, it is likely that there will be unforeseen issues that the Debtors and Paul,

 Weiss will need to address.

                12.     Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the

 laws of the United States of America that the foregoing is true and correct.




                                                   3
Case 16-10083    Doc 170      Filed 02/17/16 Entered 02/17/16 18:38:46   Main Document
                                           Pg 45 of 48


  Dated: February / 7 .2016




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Case 16-10083        Doc 170    Filed 02/17/16 Entered 02/17/16 18:38:46           Main Document
                                             Pg 46 of 48


                          UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

                                                      Case No. 16-10083-399

                                                      Chapter 11
 In re:
                                                      Jointly Administered
 NORANDA ALUMINUM, INC., et al.,
                                                      Hearing Date & Time:
                                                      March 8, 2016 at 2:00 p.m.
                                Debtors.
                                                      (prevailing Central Time)

                                                      Hearing Location:
                                                      St. Louis Courtroom 5 North

                       STATEMENT UNDER RULE 2016
                  OF THE FEDERAL RULES OF BANKRUPTCY
            PROCEDURE AND SECTION 329 OF THE BANKRUPTCY CODE

                1.      Paul, Weiss, Rifkind, Wharton & Garrison LLP (“Paul, Weiss”), pursuant

 to Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and

 section 329 of chapter 11 of the United States Code, 11 U.S.C. §§ 101-1330 (the “Bankruptcy

 Code”), states that the undersigned is counsel for the above-captioned debtors and debtors-in-

 possession (each a “Debtor” and collectively, the “Debtors”) in these chapter 11 cases (the

 “Chapter 11 Cases”).

                2.      Compensation agreed to be paid by the Debtors to Paul, Weiss will be for

 legal services rendered in connection with these Chapter 11 Cases. The Debtors have agreed to

 pay Paul, Weiss for legal services rendered or to be rendered by its various attorneys and

 paralegals in connection with these Chapter 11 Cases on the Debtors’ behalf. The Debtors also

 agreed to reimburse Paul, Weiss for its actual and necessary expenses incurred in connection

 with these Chapter 11 Cases.
Case 16-10083        Doc 170    Filed 02/17/16 Entered 02/17/16 18:38:46             Main Document
                                             Pg 47 of 48


                3.      Paul, Weiss was retained by the Debtors for this engagement and began

 working on this matter on or about September 15, 2015. Paul, Weiss received a retainer from the

 Debtors in the amount of $75,000 on October 2, 2015 and additional retainers of $500,000.00 on

 December 21, 2015 and $500,000.00 on January 29, 2016. Including amounts drawn from these

 retainers, the Firm received payments made within the ninety (90) days immediately preceding

 the Petition Date totaling approximately $3,429,962.41 in connection with Paul, Weiss’ general

 representation of the Debtors prior to these Chapter 11 Cases and in connection with the

 preparation thereof.

                4.      Other than as set forth herein, Paul, Weiss has not received any payments

 from the Debtors during the ninety (90) days immediately preceding the Petition Date.

                5.      Paul, Weiss will seek approval of payment of compensation upon Paul,

 Weiss’ filing of appropriate applications for allowance of interim or final compensation pursuant

 to sections 330 and 331 of the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,

 and any applicable orders of this Court.

                6.      The entire filing fee in these Chapter 11 Cases has been paid.

                7.      The services to be rendered include all those services set forth in Debtors’

 Application for an Order Authorizing the Retention and Employment of Paul, Weiss, Rifkind,

 Wharton & Garrison LLP as Attorneys for the Debtors and Debtors-In-Possession (the

 “Application”).

                8.      Paul, Weiss further states that it has not shared, nor agreed to share (a) any

 compensation it has received or may receive with another party or person, other than with the

 partners, counsel and associates of Paul, Weiss; or (b) any compensation another person or party

 has received or may receive.




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Case 16-10083    Doc 170    Filed 02/17/16 Entered 02/17/16 18:38:46     Main Document
                                         Pg 48 of 48


 Dated: February 17, 2016      PAUL, WEISS, RIFKIND, WHARTON &
        New York, NY           GARRISON LLP


                               By: /s/ Alan W. Kornberg______________
                               Alan W. Kornberg (pro hac vice pending)
                               1285 Avenue of the Americas
                               New York, New York 10019
                               Telephone: (212) 373-3000
                               Email: akornberg@paulweiss.com

                               Proposed Counsel to the Debtors and
                               Debtors in Possession




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